                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHNNY M. HUNT,                                       )
                                                      )
     Plaintiff,                                       )
                                                      )
v.                                                    )        NO. 3:23-cv-00243
                                                      )
SOUTHERN BAPTIST CONVENTION, et al.,                  )        JUDGE CAMPBELL
                                                      )        MAGISTRATE JUDGE FRENSLEY
     Defendants.                                      )

                                                ORDER

           The Court is in receipt of the Southern Baptist Convention and the Executive Committee

 of the Southern Baptist Convention’s joint filing under Federal Rule of Civil Procedure 54(b)

 concerning Plaintiff Johnny M. Hunt’s status as a public figure at the time of the Bart Barber tweet.

 (See Doc. No. 325). The Court is also in receipt of these Defendants’ joint request for the Court to

 take judicial notice under Federal Rule of Evidence 201 of the existence, contents, and public

 availability of certain websites, articles, tweets, and a video. (See Doc. No. 324).

           Plaintiff shall respond to Defendants’ filings, (Doc. Nos. 324, 325), on or before April 29,

 2025. Any optional reply may be filed within 7 days after service of the response and shall not

 exceed 5 pages without leave of Court.

           It is so ORDERED.

                                                      ___________________________________
                                                      WILLIAM L. CAMPBELL, JR.
                                                      CHIEF UNITED STATES DISTRICT JUDGE




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